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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                             CRIMINAL NO.

                                                     DATE FILED:

STEVEN CONEY                                         VIOLATIONS:
    a/k/a "Stephen Coney"                            18 U.S.C $ 472 (uttering counterfeit
    aflda "Norman Jones"                             obligations or securities - I count)
    a/k/a "Steven Plenty"                            18 U.S.C. $ 922(gXl) (possession of a
    a/I</a "Sami Brendell"                           firearm by a felon - I count)
    a/k/a "Steven Swinson"                           Notice of forfeiture
    a/k/a "Steve Plenty"
    a/k/a "Stephend Plenty"
    a/k/a "Stevendutch Jr. Plenty"
    a/k/a "Stephen Strickland"
    a/k/a "Stephen Plenty"
    a/k/a "Steven Strickland"

                                      INDICTMENT
                                          COUNT ONE

THE GRAND JURY CHARGES THAT:
               On or about July 9, 2023, in Philadelphia, in the Eastem District of Pen-nsylvania,
defendant

                                       STE!'EN CONEY,
                                     a/k/a "Stephen Coney"
                                     a/k/a "Norman Jones"
                                      a/k/a "Steven PIenty"
                                     a./k/a "Sami Brendell"
                                     a/k/a ttSteven Swinsontt
                                        a/k/a "Steve Plenty"
                                     a/k/a "Stephend Plenty"
                                 a/k/a "Stevendutch Jr. Plenty"
                                   a/k/a "Stephen Strickland"
                                      a/k/a "Stephen Plenty"
                                    afl<./a "Steven Strickland"

with the intent to defraud, did pass to A.G., while A.G. was working at a business located in

Philadelphia, falsely made, forged, and counterfeited obligations of the United states, that is, two
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counterfeit $100.00 Federal Reserve Notes, which he knew to be falsely made, forged, and

counterfeited.


                 In violation of Title 18, United States Code, Section 472.




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                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 12, 2023, in Philadelphia, in the Eastem District of

Pennsylvania, defendant

                                        STEVEN CONEY,
                                     a/k/a "Stephen Coney"
                                     a/k/a "Norman Jones"
                                      a/k/a "Steven Plent-v"
                                     a/k/a "Sami Brendell"
                                    a/k/a "Steven Swinson"
                                       a/k/a "Steve PIenty"
                                    a/k/a "Stephend Plenty"
                                a/k/a "Stevendutch Jr. Plenty"
                                  a/k/a "Stephen Strickland"
                                     a/k/a "Stephen Plenty"
                                   a/k/a "Steven Strickland"

knowing he had previously been convicted in a court ofthe Commonwealth ofPennsylvania ofa

crime punishable by imprisonment for a term exceeding one year, knowingly possessed a

firearm, that is, a black Ruger, model Security 9, .9mm semi-automatic pistol, bearing serial

number 384-32073, loaded with one live round of ammunition, and the firearm was in and

affecting interstate and foreign commerce.

               In violation of Title 18, United States Code, Section 922(9)(1).




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                                   NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES TTIAT:

               As a result ofthe violations of Title 18, United States Code, Sections 472 and

922(9)(1), set forth in this indictment, defendant

                                          STEVEN CONEY,
                                       a/k/a "Stephen Coney"
                                       a/k/a "Norman Jones"
                                        a/k/a "Steven Plenty"
                                       a/k/a "Sami Brendell"
                                       a/k/a "Steven Swinsont'
                                         a/k/a "Steve Plenty"
                                      a/k/a "Stephend Plenty"
                                  afl</a "Stevendutch Jr. Plenty"
                                    a/k/a "Stephen Strickland"
                                       a/k/a "Stephen Plenty"
                                     a/k/a "Steven Strickland"


shall forfeit to the United States of America all falsely made, forged, and counterfeited obligation

of the United States, and firearms and ammunition involved in the commission of this offense,

including but not limited to:

                       1.       two falsely made, forged, and counterfeited obligations ofthe

United States, that is, two counterfeit $100.00 Federal Reserve Notes, with serial numbers

DB666888032;

                       2.       a black Ruger, model Security 9, .9mm semi-automatic pistol,


bearing serial numbet 384-32073; and

                       3.       one live round of .9mm ammunition.

               All pursuant to Title 28, United States Code, Section 2461(c) and Title 18, United

       States Code, Section 924(d).




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JACQUELINE C. ROMERO
United States Attorney




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                   UNITED STATES DISTRICT COURT

                           Eastern District of Pennsvlvania


                                  Criminal Division
                    ,TI
                          IE I.]NI'IED S'I'A]'ES OII AMERICA

                                                vs.

                                       STEVEN CONEY
                                    a/k/a "Stephen Coney"
                                     a/k/a "Nonran Jones"
                                     a/Ua "Steven Plenty"
                                     a/k/a "Sami Brendell"
                                    a/[<-/a "Steven Swinson"
                                       a/k/a "Steve Plenty"
                                    a/k/a "Stephend PIenty"
                                a/kia "Stevendutch Jr. Plenty"
                                  a,/Ua "Stephen Strickland"
                                     a/Va "Stephen Plenty"
                                   a/Ua "Steven Strickland"

                                   INDIC'TMENT

                                        Counts

  l8 U.S.C. $ 472 (uttering counterieit obligations or securities - I count);
    l8 U.S.C. $ 922(gXl) (possession ofa llrearm by a felon- I count);
                                Notice of Forlbiture




                                        Clerk

                             Bail. $
